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                               No. 21-103



                                 IN THE
 United States Court of Appeals for the Federal Circuit
                             ________________

 IN RE CINEMARK HOLDINGS, INC., AMC ENTERTAINMENT HOLDINGS, INC.,
                 AND REGAL ENTERTAINMENT GROUP,
                                   Petitioners.
                             ________________
                  On Petition For a Writ of Mandamus to the
        United States District Court for the Eastern District of Texas in
 Case Nos. 2:19-CV-00266-JRG, 2:19-CV-00265-JRG, and 2:19-CV-00267-JRG
                            Judge Rodney Gilstrap
                             ________________
            NON-CONFIDENTIAL REPLY IN SUPPORT OF
              PETITION FOR A WRIT OF MANDAMUS
                             ________________




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                          CERTIFICATE OF INTEREST

       Case No. 21-103.

       In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and
       Regal Entertainment Group

       Filing Parties/Entities: Cinemark Holdings, Inc., AMC Entertainment
       Holdings, Inc., and Regal Entertainment Group



     I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.

       Date: November 2, 2020 Signature:         /s/ Jonathan S. Franklin

                                   Name:         Jonathan S. Franklin



        1. Represented Entities (Fed. Cir. R. 47.4(a)(1)) – Provide the full names
of all entities represented by undersigned counsel in this case.

       Cinemark Holdings, Inc.

       AMC Entertainment Holdings, Inc.

       Regal Entertainment Group

        2. Real Party in Interest (Fed. Cir. R. 47.4(a)(2)) – Provide the full names
of all real parties in interest for the entities. Do not list the real parties if they are
the same as the entities.

       None.

      3. Parent Corporations and Stockholders (Fed. Cir. R. 47.4(a)(3)) –
Provide the full names of all parent corporations for the entities and all publicly
held companies that own 10% or more stock in the entities.

       Cinemark Holdings, Inc.: None.


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      AMC Entertainment Holdings, Inc.: Wanda America Entertainment, Inc.;
      Dalian Wanda Group Co., Ltd.

      Regal Entertainment Group: Cineworld Group plc

      4. Legal Representatives (Fed. Cir. R. 47.4(a)(4)) – List all law firms,
partners, and associates that (a) appeared for the entities in the originating court or
agency or (b) are expected to appear in this court for the entities. Do not include
those who have already entered an appearance in this court.

      Norton Rose Fulbright US LLP: Brandy S. Nolan, Catherine J. Garza, Eric
      C. Green, Eric B. Hall, Erik O. Janitens, James S. Renard, Michael A.
      Swartzendruber, Stephanie N. DeBrow, and Darren Smith

      Gillian & Smith, LLP: Melissa R. Smith

      5. Related Cases (Fed. Cir. R. 47.4(a)(5); see also Fed. Cir. R. 47.5(b)) –
Provide the case titles and numbers of any case known to be pending in this court
or any other court or agency that will directly affect or be directly affected by this
court’s decision in the pending appeal. Do not include the originating case
number(s) for this case.

      Dolby Labs., Inc. v. Intertrust Techs. Corp., No. 3:19-CV-03371-EMC
      (N.D. Cal.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No. IPR2020-
      00660 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00661 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00662 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00663 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00664 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-00665 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01123 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01209 (P.T.A.B.); Dolby Labs., Inc. v. Intertrust Techs. Corp., No.
      IPR2020-01273 (P.T.A.B.)

      6. Organizational Victims and Bankruptcy (Fed. Cir. R. 47.4(a)(6)) –
Provide any information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees).

      None.




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     This document redacts highly confidential industry information, subject to a
      protective order, regarding the supply of equipment to Petitioners. See p. 8.
      This document additionally redacts quotations from a hearing that remains
                        under seal in the court below. See p. 13.

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                                  INTRODUCTION

      Intertrust’s opposition does not credibly defend the district court’s legal

error in holding that the first-to-file rule requires “identity of parties” and

accusations that “completely coincide,” Order at 17,1 whereas this Court has

squarely held that the rule applies whenever cases merely have “significant

overlap.” In re Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009)

(“Volkswagen I”). Instead, Intertrust downplays the substantial overlap between

the cases at issue, both of which involve assertion of the same patents against the

same equipment under the same infringement theories. But as the Petition shows,

it is clear and indisputable from the record and the district court’s own reasoning

that this case unquestionably satisfies the “significant overlap” threshold for

applying the first-filed rule under governing law.

      Further, since the mandamus petition was filed, two things happened—

neither of which Intertrust’s opposition acknowledges—that further demonstrate

the district court’s clear error. First, in its precedential decision in In re Nitro

Fluids L.L.C., __ F.3d __, 2020 WL 6301719, at *2 (Fed. Cir. Oct. 28, 2020), this

Court granted mandamus to vacate a transfer denial, holding that where the first-to-

file rule applies, “the burden [is] on the party that is seeking to establish a

compelling circumstances exception to the rule.” Thus, the district court also


1     The court unsealed its Order after the Petition was filed. Dkts. 143, 157.

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clearly erred by holding in this later-filed case that it “must draw all reasonable

inferences and resolve factual conflicts” in favor of the transfer opponent. Order at

3. As in Nitro, this “ha[s] matters backwards.” 2020 WL 6301719, at *2. And

when the proper standard is applied, transfer is unquestionably warranted because

Intertrust offered only conclusory assertions—rather than “compelling

circumstances,” id.—to keep this California-centered action in Texas. Indeed, the

district court’s holding would be clear error even if the first-to-file rule did not

apply.

         Second, the day after the mandamus petition was filed, Intertrust moved

against Dolby in California to enforce a subpoena in this case,2 and also moved to

relate that subpoena action to the NDCal Dolby Action. In the latter motion,

Intertrust expressly stated (1) that “[t]he actions involve common questions of fact

and overlapping discovery,” including “the same parties, patents, and equipment,”

such that “[h]aving the same Court resolve discovery issues . . . as well as resolve

other disputes in both cases, will avoid the possibility of inconsistent results and

rulings,” and (2) that both actions “involve technology within the same field and,

accordingly, having a single Court hear both Actions will be more efficient as the

Court will become familiar with the technology at issue.” Intertrust’s Unopposed


2     Intertrust’s Mot. to Compel, Intertrust Techs. Corp. v. Dolby Labs., Inc., No.
3:20-mc-80184-AGT (N.D. Cal. filed Oct. 22, 2020) (Ex. A).


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Mot. to Relate Cases at 3, Dolby Labs., Inc. v. Intertrust Techs. Corp., No. 3:19-

cv-03371-EMC (N.D. Cal. filed Oct. 22, 2020) (Ex. B).3

      These are Intertrust’s own words, and they say it all. They further confirm

both that the first-to-file rule applies and that no compelling circumstances justify

overriding it. Particularly given those statements, Intertrust’s present opposition

cannot be taken seriously and, in any event, identifies nothing remotely

“compelling” that could conceivably satisfy Intertrust’s burden. The Court should

therefore grant mandamus and direct transfer.

I.    THE DISTRICT COURT ERRED AS A MATTER OF LAW IN
      FINDING THE FIRST-TO-FILE RULE INAPPLICABLE.

      The district court committed clear legal error in holding that the first-to-file

rule applies only when cases have an “identity of parties” and infringement

allegations that “completely coincide,” Order at 17, whereas this Court has held in

a precedential decision that the rule applies whenever the cases simply have

“significant overlap.” Volkswagen I, 566 F.3d at 1351.

      Intertrust’s opposition does not even cite Volkswagen I, much less

demonstrate there is no “significant overlap” between the first-filed Dolby Action

and this one. Instead, Intertrust relies on non-precedential decisions which, it says,




3       The Court may take judicial notice of these filings. L.A. Biomedical Rsch.
Inst. v. Eli Lilly & Co., 849 F.3d 1049, 1061 n.6 (Fed Cir. 2017).


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hold that “the first-to-file rule requires transfer of a later-filed case only where the

overlap between them is ‘complete or nearly complete.’” Opp. 1 (quoting In re

ASM Int’l, N.V., 774 F. App’x 650, 652 (Fed. Cir. 2019)); id. at 8 (quoting In re

Telebrands Corp., 773 F. App’x 600, 602 (Fed. Cir. 2016)). But both decisions

make clear that the first-to-file rule applies to cases that are “very similar” although

not the same, see ASM, 774 F. App’x at 652; Opp. 8, and as Telebrands notes, the

relevant question is whether they “substantially overlap,” 773 F. App’x at 603.

Indeed, the district court recognized that settled principle, see Order at 15 (noting

that first-to-file rule requires “only that the cases involve closely related questions

or subject matter or the core issues substantially overlap”), before it proceeded to

apply its improperly-high “identity” standard instead, see id. at 17.

      Even if these non-precedential decisions were binding (and they are not),

they recognize only that if cases do not nearly or completely overlap, the Court

will afford some deference to a district court’s “reasoned assessment” regarding,

inter alia, the extent of overlap. ASM, 774 F. App’x at 652. In those cases,

deference was appropriate because, unlike here, the second-filed action involved

“different asserted patents, claim terms, and technology” in ASM, id., and only

non-patent claims in Telebrands, 773 F. App’x at 601-03. Here, the district court

made no such “reasoned assessment” to which any deference would be

appropriate, nor could it given that Intertrust’s claims of indirect infringement in



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Dolby are predicated on the direct infringement alleged in this case. Rather, the

court committed clear legal error in holding the first-to-file rule inapplicable

merely because two cases do not have an “identity of parties” or infringement

allegations that “completely coincide.” Order at 17 (emphasis added).

      Intertrust must resort to misstating the legal standard because it is

indisputable that this case and the first-filed Dolby action, at a bare minimum,

“significant[ly] overlap.” Volkswagen I, 566 F.3d at 1351. Indeed, even if

Intertrust’s incorrect assertions of the law were accepted, mandamus would still be

required because there is “nearly complete” overlap. Virtually all infringement

allegations in the two cases are identical, given Intertrust’s allegations in the Dolby

Action that the products Dolby sells to Petitioners—the vast majority of products

Petitioners allegedly use to infringe—have no non-infringing uses, and Dolby’s

requested injunction against those claims against Petitioners. See Pet. 13-21.

      It is therefore immaterial whether Petitioners “configur[e]” or “install[]” the

Dolby equipment, Opp. 11-12, because—as Intertrust does not dispute—its

allegation of no non-infringing uses makes its indirect and direct infringement

allegations identical in both cases. See Pet. 5, 13-14; see also Ex. B at 2-3

(Intertrust assertion that Dolby document requests in both cases “mirror [each

other] in substance” and have “substantial overlap”). That Intertrust now contends

its damages are more extensive here, Opp. 10-11, also makes no difference



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because, as Intertrust again does not dispute, its damages theories are identical in

both cases regarding Dolby products, Pet. 19-20, and because Petitioners’ accused

conduct is the subject of Dolby’s requested relief, Dkt. 46-2, at 17. Moreover,

Intertrust’s bald assertion that equipment other than IMBs—which Dolby

overwhelmingly supplies to Petitioners—“can” meet some patent limitations, Opp.

11, is immaterial because Intertrust nowhere alleges, either in its Complaint or its

current opposition, that Petitioners in fact use such equipment. See Pet. 17-18

(further explaining that “Outboard Media Blocks” are always used with allegedly

infringing IMBs). And it is nonsensical for Intertrust to argue that the cases are

different because of claims in a patent Intertrust expressly dropped from this case.

Opp. 11 & n.4. Rather, as Intertrust asserted in the Dolby Action only days ago, its

allegations against Dolby’s equipment in both cases “involve common questions of

fact and overlapping discovery”—including “the same parties, patents, and

equipment”—and having the Dolby court resolve all disputes “will avoid the

possibility of inconsistent results and rulings,” and “be more efficient.” Ex. B at 3.

      The district court clearly erred in holding that the first-to-file rule requires an

“identity of parties.” Order at 17. See Opp. 10 (arguing primarily that first-to-file

rule is inapplicable because “Intertrust is suing different infringers”). Rather,

“[t]he crucial inquiry is one of ‘substantial overlap,’” and, therefore, “[c]omplete

identity of parties is not required for dismissal or transfer of a case filed



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subsequently to a substantially related action.” Save Power Ltd. v. Syntek Fin.

Corp., 121 F.3d 947, 950-51 (5th Cir. 1997) (emphasis added). See also In re

Google Inc., 588 F. App’x 988 (Fed. Cir. 2014) (staying EDTex actions against

handset manufacturers when alleged infringement substantially involved software

being litigated against developer in NDCal).

      Indeed, the district court’s rule contravenes the policies of the “customer

suit” exception to the first-to-file rule. See Pet. 14-16. Under that exception, even

a later-filed manufacturer suit takes precedence over a first-filed customer suit.

Id.4 The district court’s ruling subverts those policies by holding the first-to-file

rule inapplicable, even when the customer suit is later-filed, on the ground that

there is no “identity of parties.” Under the customer-suit exception, the two cases

always involve different parties: a manufacturer in one case and customers in the

other. But the exception exists so both suits will be efficiently tried together in the

manufacturer’s forum whenever that action has “the potential to resolve the ‘major

issues’ concerning the claims against the customer.” Spread Spectrum Screening

LLC v. Eastman Kodak Co., 657 F.3d 1349, 1358 (Fed. Cir. 2011). That policy

applies even more strongly here, where the customer suit was later-filed.


4       That rule does not directly apply here because the manufacturer suit was
first-filed. Accordingly, contrary to Intertrust’s assertions, cf. Opp. 13-14,
Petitioners have not argued that the exception applies directly to this case. Rather,
Petitioners assert, as they did below, that the “policies underlying” the exception
mandate transfer here. See id. at 14 (quoting Opp., Appx24); Pet. 14-15, 24-26.

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                                             INFORMATION HAS BEEN
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      Accordingly, the only conceivable distinction between this case and the

Dolby Action is that a small minority of products Petitioners allegedly use to

infringe are sourced from two other suppliers with no Texas connection and whose

DCI-compliant products Intertrust does not allege infringe any differently from

Dolby’s. See Pet. 7-8 & n.4, 15.5 But that mere fact cannot negate the first-to-file

rule where the vast majority of infringement allegations and defenses are identical

in both cases. Otherwise, that rule, and the policies of the customer-suit exception,

would be nullified whenever a patentee asserts additional infringement allegations

in a later customer suit. Moreover, while the parties agree that technical

documents and source code are necessary to understand whether IMBs used by

Defendants allegedly perform patent limitations, Dkt. 133, at 5-6, Intertrust

premised its initial infringement claim on Petitioners’ use of DCI-“compliant”

equipment, see Dkt. 46-2, at 8-9. Thus, Intertrust’s accusations against other

suppliers’ equipment overlaps with its accusations against the Dolby equipment.

Once again, for the rule to apply two cases need only have “significant overlap,”

Volkswagen I, 566 F.3d at 1351, not complete identity as the district court

mistakenly held. Because that standard is unquestionably satisfied once the district

court’s legal error is corrected, mandamus is warranted.


5     Petitioners did not merely “contend” that % of Regal’s non-Sony IMBs
came from Dolby when this case was filed. Opp. 12 n.6. The parties jointly
represented that fact below. Dkt. 133 at 6.

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II.   UNDER THE CORRECT LEGAL STANDARD, TRANSFER IS
      REQUIRED.

      The district court also clearly erred by using a motion-to-dismiss standard to

evaluate the transfer factors, under which it “dr[e]w all reasonable inferences and

resolve[d] factual conflicts in favor of the non-moving party.” Order at 3; Pet. 22-

23. Nitro further confirms that error. It holds that a district court errs by requiring

the movant in a second-filed action to prove the transferee forum is more

convenient. 2020 WL 6301719, at *2. Instead, the court must require the party

seeking to avoid the first-to-file rule “to establish a compelling circumstances

exception” to it. Id. Applying a presumption against transfer and simply balancing

the convenience factors, as in a normal case, “ha[s] matters backwards.” Id.

      Even where the first-to-file rule does not apply, a transfer ruling requires a

court to make “findings” on the convenience factors. Van Dusen v. Barrack, 376

U.S. 612, 622 (1964). The district court’s standard, however, requires no

“findings” at all. See, e.g., Neitzke v. Williams, 490 U.S. 319, 326-27 (1989)

(dismissal standard “streamlines litigation by dispensing with … factfinding”)

(emphasis added). The court therefore clearly erred by drawing all inferences and

resolving all disputes in favor of Intertrust, and mandamus is required for that

reason alone.6


6     For this standard, the court cited Cooper v. Farmers New Century Insurance
Co., 593 F. Supp. 2d 14 (D.D.C. 2008), and Sleepy Lagoon, Ltd. v. Tower Group,

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      Moreover, under the proper legal standard, transfer is clearly and

indisputably required. Contrary to Intertrust’s assertion, Opp. 18-19, the district

court’s transfer analysis was fatally infected by its erroneous legal standard.

Access to proof was the only private factor the court found favored leaving this

case in EDTex. See Pet. 10; Opp. 19-25 (noting that court found access to proof

“weighs against transfer” but all other private factors were either explicitly or

effectively neutral).7 But the court did not, and could not, find that Intertrust had

proved that fact, as Nitro and prior law require. Instead, the court merely noted

that Petitioners’ offices are closer to Texas than California and that the “bulk of the

relevant evidence usually comes from the accused infringer.” Order at 7 (citation

omitted; emphasis added). But the court made no finding—because Intertrust

presented no proof—that the bulk of the relevant evidence is actually possessed by




Inc., 809 F. Supp. 2d 1300 (N.D. Okla. 2011). But those cases improperly
imported the venue dismissal standard to a transfer motion. See Cooper, 593 F.
Supp. 2d at 18-19; Sleepy Lagoon, 809 F. Supp. 2d at 1306 (citing Huang v.
Napolitano, 721 F. Supp. 2d 46, 47 n.2 (D.D.C. 2010), in turn citing Cooper, 593
F. Supp. 2d at 18-19). Even if Nitro had not decided that this standard is improper,
mandamus would still be appropriate. See, e.g., In re ZTE (USA) Inc., 890 F.3d
1008, 1011 (Fed. Cir. 2018) (mandamus may decide “basic” and “undecided”
questions, and “unsettled and important” issues) (citations omitted).

7      Under its public-factor analysis, the court noted it could likely try the case
faster than would the NDCal court. Order at 14. But the court also correctly noted
that that is “not a deciding factor alone.” Id. And as shown below, that finding
was also clearly erroneous. See infra at 13-15.

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Petitioners, rather than by Intertrust, Dolby, DCI, and the many other involved

entities and witnesses located in, or with connections to, California but not Texas.

      Instead, the court did not address that documentary evidence held by these

California entities—including massive amounts of source code and other

documents relating to the accused technology for the vast majority of Petitioners’

theaters and nearly all of Cinemark’s and AMC’s—is in NDCal. Pet. 23-24; Dkt.

28, at 8-9. Petitioners did not design or manufacture any equipment through which

they allegedly infringe, did not create any relevant technology, and had no part in

developing the DCI standards at the heart of this case. Pet. 22-26; Dkt. 28, at 11-

13; Dkt. 46, at 7-8. Petitioners do not even meaningfully “configure digital cinema

components,” cf. Opp. 14; they plug in components manufactured primarily by

Dolby, see Opp., Appx48. Thus, only days ago, Intertrust expressly stated that it

needed “massive” discovery from Dolby in California because Dolby is the “sole

potential source of such information,” given that Petitioners “do not have source

code or substantial technical documentation relating to their DCI-compliant

equipment.” Ex. A, at 14, 20. See also Dkt. 135, at 5, 13-14. Accordingly, all key

technical evidence—as well as essentially all third-party witnesses, Pet. 26-30—

are either in, or closer to, NDCal. The district court’s contrary, conclusory

assertion that access to evidence must favor EDTex merely because Petitioners’

offices are closer to Texas, Order, at 7, not only fails to establish a “compelling



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circumstance” to justify overriding the first-to-file rule, Nitro, 2020 WL 6301719,

at *2, but it is effectively indistinguishable from a basic venue analysis that would

deny transfer whenever even one defendant is based in the later-filed venue.8

      Intertrust nonetheless claims that the district court—notwithstanding the

express statement in its actual order—did not “blindly” apply the principle that

relevant evidence is “usually” at a defendant’s headquarters, because the court

“confirmed” at the motion hearing that “there was no evidence to suggest” the

general principle would not apply here. Opp. 20. Not so. The court merely asked

Intertrust whether it knew any reason why that principle would not apply. Opp.,

Appx35. It did not require Intertrust to prove that the bulk of relevant evidence is

in or closer to Texas rather than California. And Intertrust answered only that if


8      Compelling circumstances, by definition, are rare. See, e.g., Gateway
Mortg. Grp., L.L.C. v. Lehman Bros. Holdings, Inc., 694 F. App’x 225, 227 (5th
Cir. 2017) (even forum selection clause is not a compelling circumstance justifying
overriding first-to-file rule); Sirius Computer Sols., Inc. v. Sparks, 138 F. Supp. 3d
821, 827 (W.D. Tex. 2015) (compelling circumstances may exist where first-filing
party manipulates second-filing party to delay its suit). Under Nitro, compelling
circumstances require, at a bare minimum, that “the balance of transfer factors
favors keeping the case in the second-filed court.” 2020 WL 6301719, at *2.
Nitro, however, did not hold that even the slightest tilt in favor of the second-filed
court can justify overriding the first-to-file rule; instead, the Court remanded
because the district court never engaged in the required balancing. But in doing so,
the Court made clear that the party resisting transfer must still prove the factors
make out a “compelling” case for doing so. Id. Otherwise, the first-to-file rule
would be a virtual nullity, effectively reducing the inquiry for a second-filed case
into an ordinary transfer analysis. In any event, in this case the factors clearly and
indisputably favor transfer under any standard.


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                                           QUOTATIONS FROM THE SEALED
                                           TRANSCRIPT HAVE BEEN
                                           REMOVED FROM THIS PAGE
the “SEALED
     TRANSCRIPT
                          ” of evidence Intertrust expected from Dolby and other

suppliers were “SEALED
                TRANSCRIPT
                           ,” the “SEALED TRANSCRIPT

                                 .” Id. (emphasis added). Thus, Intertrust claimed

only that Petitioners’ documents would comprise the bulk of the evidence if the

substantial amount of California-based evidence were ignored. The district

court’s finding in favor of EDTex was thus clear legal error.

      Nor were the court’s errors limited to its application of the wrong legal

standard. See Pet. 23-32. For example, while Intertrust may have posited that

several Texas witnesses somehow tipped the balance in its favor, cf. Opp. 21-22,

the district court named only Mr. Darrow, even though he is a Dolby employee

who maintains an office in NDCal along with a home in EDTex. Pet. 26-27;

Order at 9-10. Such a witness, willing or otherwise, could not tip the scales in

favor of either jurisdiction; that he was somehow found to balance all the other

industry witnesses residing in California, see Order at 10, was clear and

indisputable error even apart from the court’s erroneous legal standard.

      The district court also indisputably erred by holding that “court congestion”

weighed against transfer because the “average” time to trial for patent cases is

faster in EDTex, and the court could resolve these cases more quickly given work

already done. Order at 14. Nitro held that an almost identical holding was clear

legal error warranting mandamus under settled law: where a court merely notes



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that a second-filed action had proceeded more quickly and the “average” decision

time was faster in that jurisdiction, “such reasoning does not focus on whether

there is ‘an appreciable difference in docket congestion between the two forums.’”

2020 WL 6301719, at *3 (citation omitted). Instead, “any potential difference

between the two courts in being able to schedule a trial” must “actually be related

to whether such an appreciable difference existed.” Id. Moreover, “[b]ecause the

first-to-file rule places a premium on the importance of allowing one court to

resolve substantially overlapping cases,” a court is “wrong to replace that

preference with its own views on the importance of speed of resolution.” Id.

      The district court committed the same errors here. It did not, and could not,

find that any difference in the speed of resolving the two cases actually related to

an appreciable difference in docket congestion. No trial date has been set in the

Dolby Action partly because Intertrust opposed doing so. Pet. 33. And the court’s

finding that “[c]onsidering the time already invested in this case, it is unlikely a

transferee court could assume responsibility for this case without additional

delays,” Order at 14, was clearly erroneous because, just as in Nitro, “there is no

reason to think that even if the second-filed court could more quickly resolve this

case than the first-to-file court that would alleviate the need for two courts to

resolve the overlapping issues.” 2020 WL 6301719, at *3. Moreover, the Texas




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court invested its time only because it delayed ruling on the transfer motion for

approximately ten months. Pet. 31.9

                                      *    *    *

      This is a California case. Intertrust, a California-based company,

counterclaimed in a first-filed action involving the same patents, alleging that

Dolby—the California supplier of a vast majority of the equipment Petitioners

allegedly use to infringe and which Intertrust alleges has no non-infringing uses—

induces and contributes to Petitioners’ infringement of patents relating to

specifications created by DCI and its movie-studio members in California. Nor do

the minority suppliers have any Texas connection. See Pet. 5-8 & n.4, 13-14, 16,

19-20. This case and the Dolby Action thus unquestionably have “significant

overlap,” Volkswagen I, 566 F.3d at 1351, and the mere fact that one Petitioner is

based in EDTex—the only even arguable connection with the jurisdiction—cannot

constitute a “compelling circumstance,” Nitro, 2020 WL 6301719, at *2, justifying

continuing this case separately from the first-filed, manufacturer case.

      Accordingly, the proper remedy is to grant mandamus and order transfer of

these consolidated cases to NDCal. See, e.g., In re HP Inc., 2020 WL 5523561


9      Contrary to Intertrust’s contention, Opp. 25, Petitioners did not unreasonably
delay the transfer proceedings. Their motion was filed within a month after
answering the complaints, see Dkts. 14, 28, and they expressly prodded the court to
hold a hearing after it had delayed ruling for several months, see Dkt. 128.


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(Fed. Cir. Sept. 15, 2020) (granting mandamus and directing transfer from EDTex

to NDCal). Although the Nitro panel remanded that case, it did so only because

the district court never fully balanced the convenience factors. 2020 WL 6301719,

at *3. Here, the district court addressed each factor and held that only two were

anything but neutral, and only one weighed against transfer on its own. That result

was clearly erroneous both because the Court improperly overrode the first-to-file

rule and because it committed legal error in its transfer analysis. Accordingly, the

Court should grant mandamus and direct transfer.

                                  CONCLUSION

      For these reasons, and those in the Petition, the Court should grant

mandamus, vacate the order denying transfer, and order the district court to

transfer these consolidated cases to the Northern District of California.

                                          Respectfully submitted,

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             CERTIFICATE OF COMPLIANCE WITH
     TYPE-VOLUME LIMITATIONS, TYPEFACE REQUIREMENTS,
              AND TYPE STYLE REQUIREMENTS

      Case No. 21-103.

      In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and
      Regal Entertainment Group

      I certify that the foregoing is proportionately spaced in 14-point font and,

according to the word processing program in which it was generated, contains

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21(d) and the parts of the petition exempted by Fed. R. App. P. 32(f).

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                          CERTIFICATE OF SERVICE

      Case No. 21-103.

      In re Cinemark Holdings, Inc., AMC Entertainment Holdings, Inc., and
      Regal Entertainment Group

      I hereby certify that on November 2, 2020, I electronically filed the non-

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system. I further certify that I served a copy of both versions of this document on

November 2, 2020, on the individuals below at the following locations:

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             confidentiality requirements.


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11                             UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13

14

15   INTERTRUST TECHNOLOGIES                         Misc. Case No. 3:20-MC-80184-AGT
     CORPORATION,
16                                                   INTERTRUST’S AMENDED NOTICE OF
           Movant,                                   MOTION AND MOTION TO COMPEL
17                                                   DISCOVERY;
               v.                                    MEMORANDUM OF POINTS AND
18
                                                     AUTHORITIES
19   DOLBY LABORATORIES, INC.,
                                                     [Declaration of Jordan B. Kaericher and
20         Respondent.                               [Proposed] Order filed concurrently herewith]

21
                                                     Date: To be set by the Court
22                                                   Time: To be set by the Court
                                                     Place: To be set by the Court
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 1                 AMENDED NOTICE OF MOTION TO COMPEL DISCOVERY1

 2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          Please take notice that as soon as this matter may be heard by the U.S. District Court for the
 4 Northern District of California, Intertrust Technologies Corporation will move to compel Dolby

 5 Laboratories, Inc.’s compliance with a third-party subpoena issued on February 21, 2020 by the U.S.

 6 District Court for the Eastern District of Texas (the “Subpoena”) in Intertrust Technologies

 7 Corporation v. Cinemark Holdings, Inc., No. 19-00266 (lead case) and two related cases pending

 8 there. Dolby served written objections to the Subpoena on March 6, 2020 and has refused to produce

 9 source code, technical documents, damages-related documents, and metadata fully responsive to the

10 requests included in the Subpoena. Among other things, Dolby has attempted to improperly

11 condition its compliance with the Subpoena on discovery disputes related to infringement

12 contentions between Intertrust and Dolby in a separate declaratory judgment action that Dolby filed

13 against Intertrust in this district, Dolby Laboratories, Inc. v. Intertrust Techs. Corp., No. 19-03371

14 (N.D. Cal.). The parties’ discovery dispute in that action is already the subject of a joint discovery

15 letter brief submitted to Judge Edward M. Chen on October 13, 2020, the presiding judge for that

16 case, pursuant to Judge Chen’s Standing Order on Discovery. Id., Docket No. 112. The issues

17 raised in this motion mirror in substance the production disputes Intertrust raised in that letter.

18          Intertrust certifies that it conferred in good faith with Dolby on September 1, 2020 but was
19 unable to fully resolve the issues to be raised in this motion.

20
     DATED: October 22, 2020                     QUINN EMANUEL URQUHART &
21                                               SULLIVAN, LLP
22

23
                                                 By /s/ Tigran Guledjian
24                                                  Tigran Guledjian
25

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        1
            This amended notice supersedes Intertrust’s “Notice of Motion to Compel Discovery” filed
     with the Court on October 16, 2020. See Docket No. 1 at ii.
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 1 I.       INTRODUCTION
 2          Intertrust Technologies Corporation respectfully requests that the Court compel Dolby

 3 Laboratories, Inc. to produce source code and documents responsive to Intertrust’s third-party

 4 subpoena (the “Subpoena”) issued in a patent infringement action Intertrust filed in the Eastern

 5 District of Texas against three national movie theater chains (the “Theater Defendants”) that use

 6 Dolby equipment (the “Theater Actions”). Dolby has failed to make a complete production of

 7 documents responsive to the Subpoena and has attempted to improperly condition its compliance

 8 with the Subpoena to discovery disputes in a separate declaratory judgment action that Dolby filed

 9 against Intertrust in this District (the “Dolby Action”).2 Specifically, Intertrust asks the Court to

10 compel Dolby to address four categories of deficiencies in its production:

11             Dolby’s incomplete production of source code and release dates for products that are
12              part of the accused infringement in the Theater Actions (the “Accused Products”);

13             Dolby’s incomplete production of non-source code technical documents for the Accused
14              Products;

15             Dolby’s incomplete production of damages-related information regarding sales, costs,
16              and profits for the Accused Products necessary to calculate damages in the Theater

17              Actions; and

18             Dolby’s refusal to produce FilePath metadata, which is necessary to contextualize source
19              code and technical documents.

20          First, Dolby has failed to make a complete production of source code and release dates for

21 the products accused of infringement in Intertrust’s actions pending in the Theater Actions, despite

22 repeatedly representing that it would do so. Source code and release dates are essential to Intertrust’s

23 claim of patent infringement in the Theater Actions because Dolby equipment is used by the

24 Defendants and is part of the infringement alleged in those cases. Dolby has not provided any

25

26      2
         The parties’ discovery dispute in the Dolby Action is the subject of a Joint Discovery Letter
   submitted to Judge Edward M. Chen, the presiding judge for that case, on October 13, 2020 pursuant
27 to Judge Chen’s Standing Order on Discovery. Dolby Laboratories, Inc. v. Intertrust Techs. Corp.,

28 No. 19-03371 (N.D. Cal.), Dkt. No. 112. The issues raised in this motion mirror in substance the
   production disputes Intertrust raised in that letter.
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 1 justification for withholding this information beyond allegedly deficient infringement contentions

 2 in the Dolby Action. But those contentions cannot be supplemented without this information that

 3 is in Dolby’s sole possession. Moreover, any alleged deficiencies in Intertrust’s contentions in the

 4 Dolby Action are irrelevant to Dolby’s need to comply with the Subpoena in the Theater Actions.

 5          Second, Dolby has not produced a number of important technical documents that are

 6 necessary to understand and interpret its source code, which is not self-documenting and requires

 7 additional technical documents to interpret.

 8          Dolby contends now—even though Intertrust first notified Dolby of the numerous

 9 deficiencies in Dolby’s source code and technical production on August 1, 2020, more than two

10 months ago—that Intertrust must seek the information it needs to assess these production

11 deficiencies through an interrogatory or deposition in the Dolby Action. That proposal is not proper

12 because it does not address the Subpoena, which is pending in the Theater Actions that have a fact

13 discovery cut-off of November 23, 2020, and would add additional months of needless delay. Dolby

14 should be required to produce these documents in response to the Subpoena now, if they exist, or

15 provide confirmation that the documents do not exist.

16          Third, despite multiple requests and meet-and-confers over the last two months, Dolby has

17 also failed to supplement its production to address numerous deficiencies in its production of

18 damages-related documents. Instead, Dolby has agreed only to produce self-serving licenses, while
19 withholding fundamental documents such as profit and loss information, sales information, and

20 consumer studies for the Accused Products.

21          Finally, Dolby has failed to provide “FilePath” metadata for each produced document to

22 show its source, a field that is routinely provided in litigation and is particularly important for

23 contextualizing source code and technical documents like those produced by Dolby and identifying

24 additional sources of documents.

25          Intertrust respectfully requests that the Court compel production of the foregoing documents

26 within a reasonable time frame given that the deadline to complete fact discovery in the Theater
27 Actions, in which the Subpoena was issued, is set for November 23, 2020—a little over a month

28 away, and in which one or more third-party depositions of Dolby need to be taken before that date,

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 1 unless compelled, without the benefit of the improperly withheld documents.

 2 II.       BACKGROUND
 3           Intertrust asks this Court to compel discovery pursuant to Intertrust’s third-party subpoena

 4 to Dolby that issued on February 21, 2020 in the Theater Actions. See Declaration of Jordan B.

 5 Kaericher (“Kaericher Decl.”), Ex. A (Excerpted Subpoena). Intertrust sued the Theater Defendants

 6 for patent infringement, asserting that they infringed eleven Intertrust patents by using DCI-

 7 compliant3 digital cinema equipment supplied to them by, among others, Dolby. Id., Exs. E-G. Two

 8 months before Intertrust commenced the Theater Actions, and during licensing negotiations with

 9 Intertrust, Dolby sued Intertrust in a declaratory judgment action (i.e., the Dolby Action) alleging

10 non-infringement of the same eleven patents at issue in the Theater Actions. Id., Ex. D.

11           Meet-and-confer efforts regarding the Subpoena in the Theater Actions were combined with

12 negotiations regarding Intertrust’s First Set of Requests for Production of Documents (“RFPs”) to

13 Dolby, served March 20, 2020, in the Dolby Action, given the substantial overlap between the two.

14 Id., Exs. N-O, Q (Intertrust and Dolby correspondence dated August 20, 2020, August 23, 2020, and

15 September 8, 2020); id.; Ex. C (RFPs). Dolby waited for nearly four months after the RFPs were

16 served—and more than a year after commencing the Dolby Action—before finally allowing

17 inspection of its source code on July 15, 2020 to comply with its N.D. Cal. Patent Local Rule

18 (“PLR”) 3-4 obligations and in response to Intertrust’s RFPs despite numerous meet-and-confers.
19 Id. ¶ 9; id., Ex. N at 1, Ex. O at 2. Even that production had notable deficiencies and lacked code

20 for a number of Accused Products.4 See id., Exs. M, P. With respect to its non-“source code”

21 document production, Dolby similarly had notable gaps in its production. See id., Exs. I-J, P.

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       3
          DCI stands for Digital Cinema Initiatives, LLC, a consortium of major Hollywood studios
25 created in March 2002 to establish uniform digital cinema technical specifications, which ultimately

26 issued as the Digital Cinema System Specification. See, e.g., https://www.dcimovies.com (last
   visited Oct. 15, 2020); see also Kaericher Decl., Ex. D (Dolby’s Second Amended Complaint) ¶¶
27 21-22.

28
         4
          The RFPs definition of “Accused Products” tracks the Subpoena’s definition of “Supplied
     Equipment.” Compare Kaericher Decl. Ex. C at 3 with Kaericher Decl. Ex. A at 6.
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 1 Intertrust expeditiously notified Dolby of those deficiencies. See id., Exs. I-J, M, P. Intertrust and

 2 Dolby met and conferred on August 20, 2020 and August 24, 2020, during which Dolby agreed that:

 3              its source code production in the Dolby Action could be reviewed and used by Intertrust
 4               and the Theater Defendants in the Theater Actions pursuant to the Subpoena; and

 5              its non-“source code” document production was deemed to have been produced in the
 6               Theater Actions under the Subpoena and could be used by Intertrust and the Theater

 7               Defendants in the Theater Actions.

 8 Id., Ex. N at 1, Ex. O at 1. Intertrust and Dolby again met and conferred on September 1, 2020 for

 9 more than 2.5 hours to discuss the deficiencies Intertrust had previously identified in its discovery

10 correspondence dated August 1, 2020 (detailing deficiencies in Dolby’s technical production),

11 August 10, 2020 (detailing deficiencies in Dolby’s damages production), August 14, 2020 (detailing

12 deficiencies in Dolby’s source code production), and August 26, 2020 (detailing deficiencies in

13 Dolby’s source code and technical document production). See id., Ex. Q at 1-6, Ex. W (10/6/2020

14 Dolby Letter at 1-2). Dolby generally agreed to investigate these deficiencies in its production and

15 inform Intertrust of the results of its investigation. Id., Ex. Q at 1; see, e.g., Ex. R at 2, 4, 6 & n.2,

16 8-9.

17          More than a month after that last meet-and-confer, and after ignoring three requested

18 deadlines, Dolby supplemented its source code and document production, but its production left a
19 number of the identified deficiencies unresolved and was still not fully responsive to the Subpoena.5

20 See, id., Ex. W.

21

22

23

24      5
          The production in response to Intertrust’s RFPs in the Dolby Action suffered numerous
25 deficiencies. See Kaericher Decl., Ex. T. On October 13, 2020, Intertrust filed a Joint Discovery
   Letter in the Dolby Action pursuant to Judge Chen’s Standing Order on Discovery, requesting the
26 Court’s intervention to compel discovery from Dolby pursuant to its PLR 3-4 obligations and in
   response to RFP Nos. 1-41. Dkt. No. 112. As stated earlier, that request to compel discovery from
27
   Dolby largely mirrors in substance this motion to compel discovery from Dolby pursuant to the
28 Subpoena.

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 1          Intertrust seeks to compel discovery related to the following requests under the Subpoena:

 2          Source Code and/or Technical Documents
 3          Subpoena Req. No. 1 (Equivalent to RFP No. 1). All documents that constitute, refer to or

 4 relate to, any software, computer code, programs, or hardware used to operate, enable, or implement

 5 any Accused Functionalities of the Supplied Equipment,6 including but not limited to release notes,

 6 algorithms, flowcharts, diagrams, notes, notebooks, and manuals. Kaericher Decl., Ex. A at 22.

 7          Subpoena Req. No. 2 (Equivalent to RFP No. 2). All Source Code for all software used in

 8 or by, and/or incorporated in the Accused Functionalities of the Supplied Equipment, including all

 9 versions of such source code. Id.

10          Subpoena Req. No. 3 (Equivalent to RFP No. 3). Documents sufficient to identify the version

11 histories of all software and hardware used in or by the Supplied Equipment. Id.

12

13

14

15      6
           The Subpoena defines “Supplied Equipment” to mean “all DCI-compliant Equipment
16   provided by you, in whole or in part, to any Defendant, or to any third party for use in products or
     services to be provided to any Defendant, including but not limited to all versions of the Dolby
17   Digital Cinema Server DSS100, Dolby Digital Cinema Server DSS200, Dolby Digital Cinema
     Server DSP100, Dolby DSL 100, Dolby Cat. No. 745 Integrated Media Server, Dolby Cat. No. 862
18   Integrated Media Server, Dolby/Doremi Integrated Media Server IMS1000, Dolby Integrated Media
     Server IMS2000, Dolby Integrated Media Server IMS3000, Doremi Cinema Integrated Media
19   Server ShowVault, Doremi Digital Cinema Server DCP-2000, Doremi Digital Cinema Server DCP-
20   2000-NTS, Doremi Digital Cinema Server Montage CDCS 2000, and Doremi Digital Cinema
     Server DCP-2K4.” Kaericher Decl., Ex. A at 6 (emphasis added).
21       It further defines “DCI-compliant Equipment” to mean “any product, process, component,
22   system, service, software, instrumentality, or equipment that is or is alleged to be compliant with
     the DCI Specification or any product, process, component, system, service, software,
23   instrumentality, or equipment that works, interfaces, or communicates with other products,
     processes, components, systems, services, software, instrumentalities, or equipment that are or are
24   alleged to be compliant with the DCI Specification, including, but not limited to, any such product,
     process, component, system, service, software, instrumentality, or equipment that has been certified
25   as being compliant with the DCI Specification. Some non-limiting, non- exclusive examples of DCI-
26   compliant Equipment include SMSs, TMSs, Media Blocks, SPBs, storage devices, and digital
     projectors described in the DCI Specification.” Id., Ex. A at 4 (emphasis added).
27     It also defines “DCI Specification” to refer to “the Digital Cinema System Specification,
28 including  Versions 1.0, 1.1, 1.2, and 1.3, along with all Errata thereto, and/or any earlier or later
   versions along with Errata thereto.” Id., Ex. A at 3.
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 1          Subpoena Req. No. 4 (Equivalent to RFP No. 4). Documents sufficient to show the security

 2 features and tamper resistance of any hardware components in the Supplied Equipment responsible

 3 for storing, generating, or using cryptographic keys including but not limited to:

 4          a. Documents that constitute, refer to or relate to any software, firmware or hardware

 5                incorporated into any of the Supplied Equipment that satisfy the requirements of FIPS

 6                140-2 Level 3 in any areas; and

 7          b. Documents that constitute, refer to or relate to tamper protection of physical perimeters

 8                of hardware components of the Supplied Equipment including physical integrity checks

 9                performed before and during playback of Content. Id.

10          Subpoena Req. No. 5 (Equivalent to RFP No. 5). All software, firmware, or hardware

11 incorporated into any of the Supplied Equipment, and all documents and things referring to or

12 related to such software, firmware, or hardware, that are involved in performing the functions

13 described in the DCI Specification, including but not limited to the following functions:

14          ...

15          m. collecting and storing log records and log information from remote Secure Processing

16                Blocks and generating, digitally signing, storing, filtering, validating, auditing, and

17                transmitting log reports and log records;

18          ...
19          q. monitoring and logging integrity status and security-related events associated with a

20                Media Block and remote Secure Processing Blocks and responsive actions in relation to

21                such integrity status and security-related events;

22          ...

23          u. receiving, authenticating, and executing software/firmware update files for all DCI-

24                compliant Equipment, including SMS, TMS, storage systems and servers, Media Blocks,

25                SPBs, and projection systems, and the storage, protection, and use of any associated

26                cryptographic keys, root keys, and/or digital certificates;
27          ...

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 1          y. verifying the integrity and/or authenticity of software, firmware, certificates, keys, or

 2              other data as part of a secure boot sequence or integrity status checking mechanism. Id.

 3              at 24-25.

 4          Subpoena Req. No. 6 (Equivalent to RFP No. 6). All documents that constitute, refer, or

 5 relate to the design, specification, architecture, operation, installation, usage and/or modification of

 6 each Supplied Equipment as it relates to the Accused Functionalities of the Supplied Equipment,

 7 including but not limited to design, function, engineering, architecture, system, user programming,

 8 and optimization guides/specifications, user manuals, datasheets, service manuals, instruction

 9 manuals, release notes, conceptual design documents, document repositories (e.g., internal “wiki”

10 pages, SharePoint, bug/deficiency tracking system contents), software and/or Source Code,

11 firmware/microcode, flow charts, block diagrams, API documents, and/or circuitry maps. Id. at 25.

12          Subpoena Req. No. 7 (Equivalent to RFP No. 7). All communications between you and any

13 Defendant regarding the design, specification, architecture, operation, functionality, installation,

14 testing, sales, leasing, usage and/or modification of the hardware, software and/or firmware of each

15 Supplied Equipment as it relates to the Accused Functionalities of the Supplied Equipment. Id.

16          Subpoena Req. No. 8 (Equivalent to RFP No. 8). All documents that constitute, refer, or

17 relate to digital certificates; cryptographic keys, signatures, licenses, or hashes; or unique hardware

18 or software entity identifiers; used in or by, or incorporated in the Supplied Equipment, including
19 but not limited to:

20          a. Your generation and/or issuance of digital certificates, cryptographic keys, signatures,

21              hashes, or other unique identifiers to the Supplied Equipment before or after a third party

22              issues certifications of compliance of the Supplied Equipment with any part of the DCI

23              Specification;

24          b. How digital certificates, cryptographic keys, or unique identifiers are assigned to any

25              components of the Supplied Equipment; and

26          c. Use of certificates to implement any Accused Functionalities of the Supplied Equipment,
27              including but not limited to use and authentication of certificates, cryptographic

28

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 1              signatures or hashes, or unique identifiers in DCPs, CPLs, KDMs, packing lists, and

 2              Extra-Theater Messages (ETMs) to indicate DCI compliance. Id. at 26.

 3          Subpoena Req. No. 11 (Equivalent to RFP No. 10). For each Supplied Equipment,

 4 documents sufficient to show the technical requirements requested or imposed by any Defendant

 5 for any of the Accused Functionalities of the Supplied Equipment. Id.

 6          Subpoena Req. No. 12 (Equivalent to RFP No. 11). All documents referring to, relating to,

 7 or constituting testing or evaluation relating to the Supplied Equipment, including but not limited to

 8 alpha and beta testing, quality assurance testing, compliance testing, and consumer testing and all

 9 results, outcomes, or conclusions of such testing, including all third-party testing relating to DCI

10 certification or compliance, including the information mentioned in Chapters 9 and 10 of the

11 Compliance Test Plan supplied to any independent testing lab in connection with DCI certification.

12 (footnote omitted). Id. at 26-27.

13          Subpoena Req. No. 26 (Equivalent to RFP No. 25). Documents sufficient to show the format,

14 fields, and contents of log reports, KDMs, CPLs, and DCPs that are generated, processed, and/or

15 received by the Supplied Equipment, including samples of the same. Id. at 30.

16          Subpoena Req. No. 27 (Equivalent to RFP No. 26). Documents sufficient to show how

17 software and firmware of the Supplied Equipment is updated, such as but not limited to, delivery,

18 encryption,    decryption,   authentication,   signing,    installation,   and   formatting   of   such
19 software/firmware updates for the Supplied Equipment, including samples of software/firmware

20 updates and any associated software key distribution message files (SWKDM). Id.

21          Subpoena Req. No. 28 (Equivalent to RFP No. 27). All documents referring to, relating to,

22 or constituting all of the processing environments in the Supplied Equipment, including information

23 about the architecture, design, and structure of the processing environments, such as but not limited

24 to how access privileges and resources (e.g., access to memory, secure silicon, cryptographic keys,

25 etc.) are managed for the processing environments; documents showing the differences between the

26 various processing environments and how applications are executed separately from one another in
27 these different processing environments to allow different applications to have different levels of

28 access privileges and access to resources. Id. at 30-31.

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 1          Damages-Related Documents
 2          Subpoena Req. No. 13 (Equivalent to RFP No. 12). For each Supplied Equipment,

 3 documents sufficient to show:

 4          a. the full name of the Supplied Equipment;

 5          b. the product indicia used by each Defendant and/or you to identify the Supplied

 6             Equipment;

 7          c. the number of units you provided to each Defendant or to any third party intermediary

 8             between you and each Defendant of the Supplied Equipment;

 9          d. the number of software/firmware field updates that you distributed for the Supplied

10             Equipment;

11          e. the price each Defendant or said third party intermediary paid per unit of the Supplied

12             Equipment;

13          f. pricing policies, guidelines and documents related to establishing prices for the Supplied

14             Equipment;

15          g. overhead, indirect costs, or other allocated costs relevant to the sale, lease, or license of

16             Supplied Equipment;

17          h. all revenues, payments, and profits you received from each Defendant or said third party

18             intermediary in connection with the license, sale, or use of the Supplied Equipment; and
19          i. any services, installation, maintenance, subscription, repairs or consulting provided by

20             you in connection with the Supplied Equipment to each Defendant or said third party

21             intermediary. Id. at 27-28.

22          Subpoena Req. No. 14 (Equivalent to RFP No. 13). Internal and external financial statements

23 to the extent they include notes or commentary regarding the development, production, sale, or

24 servicing of any Supplied Equipment. Id. at 28.

25          Subpoena Req. No. 15 (Equivalent to RFP No. 14). Product line profit and loss statements

26 and/or product line income statements for the product lines that include the Supplied Equipment. Id.
27

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 1          Subpoena Req. No. 16 (Equivalent to RFP No. 15). Budgets, forecasts, strategic plans,

 2 financial plans, business plans or management reports related to the research, development, testing,

 3 financing, marketing, sale, lease, or license of Supplied Equipment. Id.

 4          Subpoena Req. No. 17 (Equivalent to RFP No. 16). Product information sheets, training

 5 materials, or marketing materials or brochures related to the Supplied Equipment. Id.

 6          Subpoena Req. No. 19 (Equivalent to RFP No. 18). Documents sufficient to show your

 7 provision of engineering and/or manufacturing services to any Defendant relating to the Accused

 8 Functionalities of each Supplied Equipment, including but not limited to documents regarding

 9 negotiations, offers to contract, side letters or side agreements, bids, bid solicitations, responses to

10 bid solicitations, requests for proposals, responses to requests for proposals, proposals, purchase

11 orders, draft or final agreements, and related communications. Id. at 28-29.

12          Subpoena Req. No. 20 (Equivalent to RFP No. 19). Customer surveys that refer or relate to

13 the Supplied Equipment. Id. at 29.

14          Subpoena Req. No. 21 (Equivalent to RFP No. 20). Market studies, reports, forecasts or

15 analyses, including reports on competitors and products, market segments, and customer demand

16 for the Supplied Equipment. Id.

17          Subpoena Req. No. 22 (Equivalent to RFP No. 21). For each Supplied Equipment:

18          a. any license agreements involving technology employed by the Supplied Equipment;
19          b. internal or third-party valuations or appraisals of technology employed by the Supplied

20              Equipment;

21          c. royalty reports or documents that identify the amounts paid or received under license

22              agreements for technology incorporated in the Supplied Equipment and documents

23              sufficient to show the basis for calculating payments; and

24          d. documents and correspondence related to negotiations for the sale, license or transfer of

25              interests or rights in technology employed by the Supplied Equipment, whether or not a

26              transaction was ultimately consummated. Id.
27

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 1          Dolby asserted largely similar objections to all of the requests at issue:

 2             Overly broad, unduly burdensome, and not proportional to the needs of the case
 3              (Subpoena Req. Nos. 1, 2, 3, 5, 6, 7, 8, 11, 12, 13, 15, 16, 17, 19, 20, 21, 22, 27, and 28);

 4             Documents already known to Intertrust, publicly available, or available to Intertrust
 5              through party discovery (Subpoena Req. Nos. 1, 5, 6, 7, 8, 12, 13, 14, 15, 17, 19, 20, 21,

 6              22, 26, and 27);

 7             Neither relevant to any claims or defenses nor proportional to the needs of the case
 8              (Subpoena Req. Nos. 1, 2, 3, 4, 5, 6, 7, 8, 11, 13, 14, 15, 16, 17, 19, 20, 21, 22, 26, 27,

 9              and 28);

10             Asserted terms and phrases are vague and ambiguous (Subpoena Req. Nos. 1, 2, 3, 4, 5,
11              6, 7, 8, 11, 12, 13, 14, 15, 16, 17, 19, 20, 21, 22, 26, 27, and 28);

12             Seeks discovery of information protected by the attorney-client privilege, the work-
13              product doctrine, the common-interest privilege, and/or any other applicable privilege,

14              immunity, or protection (Subpoena Req. Nos. 7, 11, 12, 13, 16, 19, and 22).

15 Kaericher Decl., Ex. B (Dolby’s Responses and Objections to the Subpoena) at 8-43. Intertrust and

16 Dolby engaged in lengthy meet and confers regarding the Subpoena on March 19, 2020 and May

17 11, 2020. Intertrust and Dolby then met and conferred on September 1, 2020 for more than 2.5

18 hours. Id., Ex. W (10/8/2020 Dolby Letter at 1). Despite Intertrust’s good faith efforts to reach an
19 acceptable compromise, Dolby has however refused to appropriately supplement its production to

20 be fully responsive to the Subpoena. See, e.g., id., Ex. T.

21 III.     LEGAL STANDARD
22          “[A] nonparty may be compelled to produce documents . . . or to permit an inspection” via

23 a Rule 45 subpoena. Fed. R. Civ. P. 34(c). “[A] non-party witness is subject to the same scope of

24 discovery [under Rule 45] as that person would be as a party to whom a request is addressed pursuant

25 to Rule 34.” Fed. R. Civ. P. 45 Ad. Comm. Notes to 1991 Amendment. Under Rule 34, a party may

26 serve “a request within the scope of Rule 26(b).” Fed. R. Civ. P. 34(a). Discovery is permitted into
27 “any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

28 needs of the case, considering the importance of the issues at stake in the action, . . . the parties’

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 1 relative access to relevant information, . . . the importance of the discovery in resolving the issues,

 2 and whether the burden or expense of the proposed discovery outweighs its likely benefit.

 3 Information within this scope of discovery need not be admissible in evidence to be discoverable.”

 4 Fed. R. Civ. P. 26(b)(1); In re Bayerische Motoren Werke AG, No. 19-80272, 2020 WL 1643855,

 5 at *1 (N.D. Cal. Apr. 2, 2020). Evidence is relevant if it has “any tendency to make the existence

 6 of any fact that is of consequence to the determination of the action more probable or less probable

 7 than it would be without the evidence.” Fed. R. Evid. 401. “[T]he Federal Rules of Civil Procedure

 8 promote a ‘broad and liberal’ policy of discovery ‘for the parties to obtain the fullest possible

 9 knowledge of the issues and facts before trial.’” In re MSTG, Inc., 675 F.3d 1337, 1346 (Fed. Cir.

10 2012) (quoting Hickman v. Taylor, 329 U.S. 495, 501, 507(1947)); Verinata Health, Inc. v.

11 Sequenom, Inc., No. 12-00865, 2014 WL 4076319, at *2 (N.D. Cal. Aug. 18, 2014) (“[P]re-

12 trial discovery is ordinarily ‘accorded a broad and liberal treatment.’” (quoting Shoen v. Shoen, 5

13 F.3d 1289, 1292 (9th Cir. 1993))).

14          Courts presiding over disputes relating to third-party subpoenas construe relevance broadly.

15 Truswal Sys. Corp. v. Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1211-12 (Fed. Cir. 1987) (“A district

16 court whose only connection with a case is supervision of discovery ancillary to an action in another

17 district should be ‘especially hesitant to pass judgment on what constitutes relevant evidence

18 thereunder. Where relevance is in doubt, the rule indicates that the court should be permissive.’”
19 (internal citations omitted)); Coventry First LLC v. 21st Servs., No. 05-2179, 2005 WL 8173350, at

20 *4 (S.D. Cal. Dec. 22, 2005) (“[I]n a case like this one where the court’s only connection with a

21 case is resolution of an ancillary discovery dispute, the court should take a particularly broad view

22 of relevance.”); Jewish War Veterans of the U.S. of Am., Inc. v. Gates, 506 F. Supp. 2d 30, 42

23 (D.D.C. 2007) (holding that “the general policy favoring broad discovery is particularly applicable

24 where, as here, the court making the relevance determination has jurisdiction only over the discovery

25 dispute, and hence has less familiarity” with the underlying case and that “doubts regarding the

26 relevance of requested information should be resolved in favor of permissive discovery.”); see also
27 Celanese Corp. v. E.I. duPont de Nemours & Co., 58 F.R.D. 606, 611 (D. Del. 1973) (noting that

28 an ancillary court should act with “hesitancy in foreclosing discovery based on irrelevance.”).

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 1 IV.      ARGUMENT
 2          A.      Dolby Has Failed to Produce Relevant Source Code Responsive to the Subpoena

 3          Dolby failed to make a complete production of source code, despite numerous meet-and-

 4 confers. Kaericher Decl., Ex. W (10/8/2020 Dolby Letter at 1) (“Dolby has failed to fully

 5 supplement its source code, technical, and damages document production in response to Intertrust’s

 6 repeated requests for Dolby to do so. Dolby has had more than two months since Intertrust first

 7 raised these issues and more than a month since the parties’ more than 2.5-hour long September 1,

 8 2020 meet-and-confer . . . .”). The requested source code is for Dolby media blocks and other

 9 Accused Products that are important to the infringement analysis in the Theater Actions.

10 Specifically, Dolby’s production is missing or incomplete for at least the following products:

11 Theater Management Systems (“TMS”) and/or Screen Management Systems (“SMS”) (including

12 “Dolby TMS4” and “Jupiter”); and Media Blocks (e.g., DCP-2000, IMB, IMS, DSL100, CAT 862,

13 CAT 745). Kaericher Decl., Ex. T at 3-12. To the extent Dolby contends (1) source code for any

14 of these products or for any release dates is identical to produced source code for other products or

15 release dates, as the basis for its refusal to produce, or (2) that certain products were only made for

16 a limited time frame, such that fewer versions were produced, Dolby should be compelled to identify

17 all instances of overlapping source code, confirm that the produced source code is representative of

18 the non-produced source code, and provide the time frame each Accused Product was made and
19 sold.

20          With this discovery, Intertrust will be in a position to, among other things, establish

21 infringement of Intertrust’s patents by the Theater Defendants, products that were used, along with

22 other equipment, during the damages window. For example, Intertrust will be able to establish that

23 Dolby TMS4 sends to the Dolby Media Block a request to play a DCI-compliant content

24 composition comprising the track file, as required by one of the limitations of asserted claim 4 of

25 U.S. Patent No. 8,191,158. See, e.g., id., Ex. H at 28, 72, and 126 of 132 (per PDF page numbering)

26 (Intertrust’s infringement contentions in the Theater Actions). Accordingly, the requested discovery
27

28

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 1 is relevant to at least liability issues.7 Dolby has never disputed that the requested source code is

 2 relevant to Intertrust’s claims of patent infringement in the Theater Actions and therefore responsive

 3 to Intertrust’s Subpoena. Indeed, Dolby is already separately obligated by PLR 3-4 to make such

 4 production in the Dolby Action, negating any argument that Dolby is being subjected to any undue

 5 burden as a third-party under the Subpoena; as noted, Dolby chose to sue Intertrust in the Dolby

 6 Action and, in doing so, opened itself up to the same scope of discovery. To the best of Intertrust’s

 7 knowledge, Dolby is the sole potential source for this information; Dolby has not asserted that the

 8 source code that Intertrust seeks (and Dolby has not produced) is publicly available,8 and Defendants

 9 in the Theater Actions have repeatedly stated that they do not have source code or substantial

10 technical documentation relating to their DCI-compliant equipment. See Kaericher Decl., Ex. BB

11 (Theater Defendants’ Transfer Mot.) at 3, 4, 8, 9 . Indeed, the Theater Defendants have consistently

12 stated that this information resides with Dolby. Kaericher Decl., Ex. CC at 3, 4 n.7; Ex. BB at 2, 4,

13 8.

14          B.      Dolby Has Failed to Produce Relevant Technical Documents Responsive to the

15                  Subpoena

16          Dolby also failed to produce a number of important technical documents that are relevant—

17 and necessary—to understand and interpret its source code, which is not self-documenting.

18 Consequently, the additional requested technical documents are required to understand and evaluate
19 how the code operates. Specifically, Dolby has not produced documents responsive to the following

20

21      7
            To the extent Dolby argues that Intertrust has not accused one or more of these products,
22   Intertrust’s infringement contentions in the Theater Actions asserts that the Theater Defendants
     infringe patent claims through their use of DCI-compliant Digital Cinema systems to show movies
23   and other DCI-compliant content. DCI-compliant Digital Cinema systems comprise equipment
     certified as compliant with the DCI Specification. Kaericher Decl., Ex. H at 3 of 132 (per PDF page
24   numbering) (Cover Pleading to Intertrust’s Amended Patent Initial Disclosures to Cinemark at 3
     (“Intertrust contends that Cinemark infringes the Asserted Claims by constructing and using Digital
25   Cinema systems compliant with the Digital Cinema Initiatives, LLC (‘DCI’) Digital Cinema System
26   Specification (the ‘DCI Specification’) in the manner described in the claim charts . . . .”)), 47 (same
     as to AMC), 93 (same as to Regal).
27      8
         In fact, Dolby did not produce a single line of source code in the Theater Actions before the
28 supplemental   protective order was entered on August 12, 2020, confirming that the source code is
   not publicly available. Kaericher Decl. ¶ 9; id., Ex. N at 1, Ex. O at 2.
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 1 requests: Subpoena Req. No. 6 (equivalent to RFP No. 6) (e.g., design, specification, architecture

 2 documents as well as “build instructions,” schematic PDF files, documents regarding the use of

 3 compiler/preprocessor directives and/or macros used to configure builds, documents related to

 4 security features of hardware components, and lower-level documentation related to the code);

 5 Subpoena Req. No. 5(m) (equivalent to RFP No. 5(m)) and Subpoena Req. No. 26 (equivalent to

 6 RFP No. 25) (e.g., log files within their context); Subpoena Req. No. 1 (equivalent to RFP No. 1)

 7 and Subpoena Doc. Req. No. 12 (equivalent to RFP No. 11) (e.g., FIPS submission documents);

 8 Subpoena Req. No. 3 (equivalent to RFP No. 3) (relevant version histories); Subpoena Req. No. 7

 9 (equivalent to RFP No. 7) and Subpoena Req. No. 11 (equivalent to RFP No. 10) (e.g., third-party

10 technical requirements); and Subpoena Req. No. 28 (equivalent to RFP No. 27) (e.g., documents

11 related to processing environments). Id., Ex. T at 3-13. As but one example, Intertrust informed

12 Dolby on October 6, 2020 that although Dolby produced a number of version releases for DSL100,

13 those produced versions lacked associated dates, which impeded Intertrust’s review of the source

14 code of Accused Products, and yet Dolby failed to provide such critical information to Intertrust.

15 Id., Ex. T at 4. These requested documents at a minimum are relevant to establish infringement of

16 Intertrust’s patents by Theater Defendants when they use these Dolby products. Dolby asserts that

17 Intertrust should seek the information it needs to assess production deficiencies through an

18 interrogatory or deposition, which is an improper response to the Subpoena. See, e.g., id., Ex. V
19 (10/8/2020 Dolby Letter at 2); Ex. W (10/12/2020 Dolby Letter at 3). Intertrust cannot serve

20 interrogatories on a third-party in the Theater Actions. Nor is it efficient or practical for Intertrust

21 to seek a deposition before Dolby’s production is complete, particularly where Intertrust is likely to

22 obtain only a single deposition of Dolby under the Subpoena. Dolby should be compelled to produce

23 these documents. With this discovery, as with source code, Intertrust will be able to establish

24 liability in the Theater Actions.

25          Dolby has never disputed that the requested technical documents are relevant to Intertrust’s

26 claims of patent infringement in the Theater Actions and responsive to Intertrust’s requests under
27 the Subpoena. Dolby has similarly not asserted that the technical documents that Intertrust seeks

28 are publicly available. In fact, as noted above, Dolby refused to produce other technical documents

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 1 in the Theater Actions before the supplemental protective order was entered on August 12, 2020.

 2 Dolby recently confirmed that “all Dolby documents used in E.D. Tex. shall be treated as ‘DOLBY

 3 HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,’ . . . under the Stipulated

 4 Supplemental Protective Order (Dkt. 124).” Id., Ex. AB at 1. At a minimum, this indicates that the

 5 requested discovery is responsive to the Subpoena and can only be obtained from Dolby.

 6          C.     Dolby Has Failed to Produce Damages-Related Documents That Are Responsive to

 7                 the Subpoena

 8          Despite multiple requests, Dolby has failed to supplement its production in response to the

 9 Subpoena to address numerous deficiencies in its production of damages-related documents. See,

10 e.g., Subpoena Req. No. 13 (equivalent to RFP No. 12) (e.g., the product indicia used by Theater

11 Defendants or Dolby to identify the Supplied Equipment accused of infringing in the Theater

12 Actions, number of units supplied, information about field updates); Subpoena Req. No. 14

13 (equivalent to RFP No. 13) (e.g., internal and external financial statements); Subpoena Req. No. 15

14 (equivalent to RFP No. 14) (e.g., product line profit and loss statements and/or product line income

15 statements for the products accused of infringing in the Theater Actions); Subpoena Req. No. 16

16 (equivalent to RFP No. 15) (e.g., budgets, forecasts, strategic plans, financial plans, business plans

17 for the products accused of infringing in the Theater Actions); Subpoena Req. No. 17 (equivalent to

18 RFP No. 16) (e.g., product information sheets, training materials, or marketing materials for the
19 products accused of infringing in the Theater Actions); Subpoena Req. No. 19 (equivalent to RFP

20 No. 18) (e.g., provision of engineering and/or manufacturing services to Theater Defendants);

21 Subpoena Req. No. 20 (equivalent to RFP No. 19) (e.g., customer surveys related to the products

22 accused of infringing in the Theater Actions); Subpoena Req. No. 21 (equivalent to RFP No. 20)

23 (e.g., market studies, reports, forecasts related to the products accused of infringing in the Theater

24 Actions); Subpoena Req. No. 22 (equivalent to RFP No. 21) (e.g., license agreements, valuations or

25 appraisals of technology for the products accused of infringing in the Theater Actions). Id., Ex. T

26 at 13-14. Instead, Dolby has agreed only to produce self-serving licenses, while refusing to confirm
27 it has produced all licenses for technology included in its media block and withholding fundamental

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 1 documents such as profit and loss information, sales information, and consumer studies for the

 2 products accused of infringing in the Theater Actions.

 3          This discovery will enable Intertrust to establish the increased profitability and cost savings

 4 that accrued to the Theater Defendants from their use of Dolby’s digital cinema technology (and the

 5 extent of that use) relative to their use of the conventional 35 mm film in print to show movies, as

 6 well as equipment manufacturer profits that would have informed the hypothetical negotiation. The

 7 requested information is thus relevant to addressing the cost savings and profits that resulted from

 8 the Theater Defendants’ use of the Accused Products and the reasonable royalty that the Theater

 9 Defendants will likely argue is the appropriate measure of damages. See, e.g., Deere & Co. v. Int’l

10 Harvester Co., 710 F. 2d 1551, 1558 (Fed. Cir. 1983) (finding that district court sufficiently

11 supported its royalty determination by considering, inter alia, the infringer’s increased profitability

12 and cost savings). Indeed, “[r]eliance upon estimated cost savings from use of the infringing product

13 is a well settled method of determining a reasonable royalty.” Powell v. Home Depot U.S.A., Inc.,

14 663 F.3d 1221, 1240 (Fed. Cir. 2011) (quoting Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d

15 1075, 1080-81 (Fed.Cir. 1983)); Prism Techs. LLC v. Sprint Spectrum L.P., 849 F.3d 1360, 1376

16 (Fed. Cir. 2017) (“[The] requirement for valuing the patented technology can be met if the patentee

17 adequately shows that the defendant’s infringement allowed it to avoid taking a different, more

18 costly course of action. A price for a hypothetical license may appropriately be based on
19 consideration of the ‘costs and availability of non-infringing alternatives’ and the potential

20 infringer’s ‘cost savings.’”). In other words, the requested discovery would allow Intertrust to

21 formulate and address its damages in the Theater Actions.

22          Dolby has also not asserted that the damages documents that Intertrust seeks (and Dolby has

23 not produced) are publicly available. In fact, like the technical documents addressed above, Dolby

24 did not produce a single damages document in the Theater Actions before the supplemental

25 protective order was entered on August 12, 2020 and designed the documents it did produce as

26 ‘DOLBY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,’ . . . under the Stipulated
27 Supplemental Protective Order (Dkt. 124).” Kaericher Decl., Ex. AA at 1. That indicates at a

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 1 minimum that the requested discovery is responsive to the Subpoena and can only be obtained from

 2 Dolby.

 3          D.     Dolby Has Failed to Produce “FilePath” Metadata Relevant to Intertrust’s Review of

 4                 Dolby’s Document Production

 5          Intertrust requested “FilePath” metadata so it could expeditiously review Dolby’s production

 6 of technical documents, but Dolby refused to produce this information. Dolby has argued that that

 7 information would entail a supplemental and burdensome privilege review that is not required of

 8 the parties in the Theater Actions. As an initial matter, that FilePath metadata has not been

 9 necessitated in the Theater Actions—between Intertrust and the Theater Defendants—is of no

10 moment because neither party there is producing highly-technical documents. Id., Ex. Y at 1-2.

11 Rather, and as the Theater Defendants have argued, those documents will come from third parties,

12 like Dolby, and for such documents, FilePath metadata is a very important metadata field because

13 it provides context for and identifies relationships between technical documents. Id. More critically,

14 Intertrust has repeatedly explained to Dolby that any routine privilege review necessarily involves

15 privilege review of metadata, including that of “FilePath,” so no undue burden is imposed by

16 “privilege review” of this field. Id. Indeed, Intertrust is willing to produce this metadata field for

17 its own production to facilitate Dolby’s review of that production in the declaratory judgment Dolby

18 Action. Id. The Court should therefore compel Dolby to produce this information promptly.
19          E.     Dolby Improperly Conditions Its Production in the Theater Actions to the Resolution

20                 of Discovery Disputes in the Dolby Action

21          Dolby’s position appears to be that its obligation to produce pursuant to the Subpoena in the

22 Theater Actions is excused because Intertrust’s infringement contentions in the Dolby Action “map

23 certain aspects of various DCI and SMPTE standards onto the asserted patent claims” and are

24 therefore somehow deficient. Id., Ex. R at 1-2. As an initial matter, Dolby’s refusal to produce

25 relevant discovery in one action due to a dispute in another action is improper on its face. Cf. Fed.

26 R. Civ. P. 26(b)(1) (making clear that discovery is permitted into “any nonprivileged matter that is
27 relevant to any party’s claim or defense and proportional to the needs of the case, considering the

28 importance of the issues at stake in the action” (emphasis added)).

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 1          In any event, even in the Dolby Action, PLR 3-1 only requires Intertrust to provide

 2 reasonable notice of why it believes it has a “reasonable chance of proving infringement,” which

 3 Intertrust has done. See, e.g., Shared Memory Graphics LLC v. Apple, Inc., 812 F. Supp. 2d 1022,

 4 1025 (N.D. Cal. 2010) (“[A]ll courts agree that the degree of specificity under [PLR] 3-1 must be

 5 sufficient to provide reasonable notice to the defendant why the plaintiff believes it has a ‘reasonable

 6 chance of proving infringement.’”). Intertrust mapped the Accused Products against the DCI

 7 specification (DCSS) and various related SMPTE standards that independent third parties have

 8 certified the Accused Products practice and that Dolby itself advertises the Accused Products

 9 practice. Id.; France Telecom v. Marvell Semiconductor, No. 12-4967, 2013 WL 1878912, at *6

10 (N.D. Cal. May 3, 2013) (“France Telecom’s use of the industry standard to disclose how Marvell’s

11 accused products infringe Claim 1 of the ’747 patent is sufficiently specific under [PLR] 3-1(c).”);

12 Dynacore Holdings v. U.S. Philips Corp., 363 F.3d 1263, 1275-76 (Fed. Cir. 2004) (noting

13 plaintiff’s permissible use of IEEE 1394 standard for infringement arguments); Linex Techs., Inc. v.

14 Belkin Int'l, Inc., 628 F. Supp. 2d 703, 708 (E.D. Tex. 2008) (“There may be times where an industry

15 standard is sufficiently particular to alone be the basis for infringement cases.”). Indeed, Dolby

16 itself premised the Dolby Action—its own declaratory judgment action against Intertrust—on its

17 products being DCI- and SMPTE-compliant, asserting that “Dolby offers Doremi and Dolby

18 branded DCI-compliant media server products containing . . . media blocks, which products
19 include, for example, the ShowVault/IMB, IMS1000, IMS2000, IMS3000, DSS100/DSP100,

20 DSS200, and DCP2000.” Kaericher Decl., Ex. D ¶ 26 (emphasis added), ¶ 32 (“Dolby manufactures

21 the Dolby Accused Products with the intent that such products comply with the DCI specifications,

22 submits samples of such products to testing facilities to certify DCI compliance, and represents such

23 products as DCI-certified or DCI-compliant, including in advertisements and offers for sale.”)

24 (emphasis added). In such cases, mapping the Accused Products to the industry standards provides

25 the requisite notice—especially given that Intertrust’s analysis is restricted by the fact that Dolby

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 1 has sole possession of the information Intertrust needs9 and has refused to make a complete

 2 production of it—and Intertrust needs to do no more than identify infringement with as much

 3 specificity as possible with the information currently available to it. France Telecom, 2013 WL

 4 1878912, at *6. Dolby has not cited to any contrary authority in the context of a declaratory

 5 judgment action involving industry standards. And, despite having premised the Dolby Action on

 6 its products being DCI- and SMPTE-compliant, Dolby has sole possession of information relating

 7 to its source code withheld the very information it demands be used to supplement its contentions.

 8 Negotiated Data, 2008 WL 11515515, at *1-2.

 9          Dolby separately contends that it has fully complied with its obligation given the sheer

10 volume of its production. Kaericher Decl., Ex. R at 1. Dolby is mistaken. A large production can,

11 as here, still be incomplete and Intertrust has identified the specific missing materials. Notably,

12 Dolby has failed to sufficiently supplement its production despite Intertrust’s repeated letters and

13 emails identifying numerous deficiencies in Dolby’s production in great detail. See, e.g., id., Ex. W

14 (10/8/2020 Dolby Letter at 1-2).        Instead, Dolby delays responding to correspondence and

15 repeatedly asks for information it has already been provided before investigating the identified

16 deficiencies. See id., Ex. S at 2. When Dolby does provide updates, it claims to be “investigating”

17 issues despite weeks passing since it represented that its investigation had begun. Id. Dolby’s

18 efforts collectively appear to be directed to avoiding and delaying compliance with its obligation to
19 produce responsive documents, which runs down the clock for discovery in the Theater Actions.

20 Dolby’s behavior severely prejudices Intertrust’s ability to review and contextualize the massive

21 amount of Dolby-produced source code (more than 60 million lines of source code or, if printed,

22 500 bankers-boxes) and pursue its claims in the Theater Actions. This prejudice is compounded by

23 the fact that Dolby’s source code is not self-documenting and requires additional reference

24 documents to interpret it. Dolby’s consistent delays have prevented Intertrust from obtaining

25

26      9
          Dolby delayed in producing the source code and did not allow Intertrust access to it until July
   15, 2020, forcing Intertrust to negotiate detailed protective orders and comply with numerous
27 procedural hurdles to obtain access. Kaericher Decl. ¶ 9. Dolby then produced more than 60 million

28 lines of source code, see, e.g., id., Ex. W (10/8/2020 Dolby Letter at 4), which requires months to
   review and process.
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 1 discovery it needs to establish important infringement issues. Negotiated Data Sols. LLC v. Dell,

 2 Inc., No. 03-5755-JSW-EMC, 2008 WL 11515515, at *1-2 (N.D. Cal. Sept. 12, 2008) (“This Court

 3 orders a further meet and confer in part because [accused infringer] Dell likely has information

 4 which may assist [patent owner] N-Data in providing more specific infringement contentions and in

 5 a more expedient manner. It can e.g., identify the chips at issue and delineate which are found in

 6 each accused product. Such an exchange of information should take place earlier rather than later

 7 and will enable the specificity and utility of the infringement contentions. Accordingly, the Court

 8 orders the parties to meet and confer further to resolve the dispute as discussed at the hearing.”).

 9          Intertrust respectfully requests that the Court compel Dolby to make a complete production

10 without any further delay.

11 V.       CONCLUSION
12          Intertrust respectfully requests that the Court grant its motion to compel production in

13 response to the Subpoena and order Dolby to complete production sufficiently in advance of the

14 November 23, 2020 discovery cut-off in the Theater Actions.

15

16 DATED: October 22, 2020                      QUINN EMANUEL URQUHART &
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                                                By /s/ Tigran Guledjian
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                 EXHIBIT B
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11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     DOLBY LABORATORIES, INC.,                            Case No. 3:19-cv-03371-EMC
14
           Plaintiff and Counterclaim-Defendant,          [Proposed Related] 3:20-mc-80184-AGT
15

16                 v.                                     INTERTRUST’S UNOPPOSED
                                                          ADMINISTRATIVE MOTION TO
17 INTERTRUST TECHNOLOGIES,                               CONSIDER WHETHER CASES
   CORPORATION,                                           SHOULD BE RELATED
18

19        Defendant and Counterclaim-Plaintiff.

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                                                                      Case No. 3:19-cv-03371-EMC
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 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           Pursuant to United States District Court for the Northern District of California Civil Local
 3 Rules 3-12 and 7-11, Intertrust Technologies Corporation (“Intertrust”) hereby files this

 4
     administrative motion seeking an order that Dolby Laboratories, Inc. v. Intertrust Technologies
 5
     Corporation, Case No. 3:19-CV-03371-EMC (“Dolby Action”), is related to Intertrust
 6
     Technologies Corporation v. Dolby Laboratories, Inc., Case No. 3:20-MC-80184-AGT
 7

 8 (“Miscellaneous Action” and together, with the Dolby Action, the “Actions”), and accordingly,

 9 that the Miscellaneous Action should be reassigned to the Honorable Edward M. Chen. Intertrust

10 requests only that these cases be related and does not request any change in the schedule of the

11
     first-filed action.
12
       I.    RELATIONSHIP OF THE ACTIONS
13
             N.D. Cal. Civil Local Rule 3-12(a) provides the applicable standard to determine whether
14
     cases are related. “An action is related to another when: (1) the actions concern substantially the
15
     same parties, property, transaction or event; and (2) it appears likely that there will be an unduly
16

17 burdensome duplication of labor and expense or conflicting results if the cases are conducted

18 before different Judges.” Both criteria are met here.

19               A. The Two Cases Involve the Same Parties, Asserted Patents, and Equipment
20                         1.      The Two Cases Involve the Same Parties.
21           Dolby Laboratories, Inc. (“Dolby”) and Intertrust Technologies, Corporation (“Intertrust”)
22 are parties in both Actions. The discovery sought in the Miscellaneous Action relates to a

23 subpoena for documents that Intertrust served on Dolby in Intertrust Technologies Corp. v.

24 Cinemark Holdings, Inc., et al., Civil Action No. 2:19-cv-266-JRG (Lead Case) (E.D. Tex.) (the

25 “Cinemark Action”). Because of the substantial overlap between the discovery requests in the

26 subpoena and Dolby’s discovery and disclosure obligations in the Dolby Action, the issues raised

27 in the Miscellaneous Action filed on October 16, 2020, mirror in substance certain production

28 disputes Intertrust raised in a Joint Discovery Letter submitted in the Dolby Action, on October
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 1 13, 2020 pursuant to the Court’s Standing Order on Discovery, see Dolby Laboratories, Inc. v.

 2 Intertrust Techs. Corp., No. 19-03371 (N.D. Cal.), Dkt. No. 112.1

 3                          2.       The Two Cases Involve the Same Patents and Equipment
 4             Both the Dolby Action and the Miscellaneous Action relate to allegations of infringement

 5 of the substantially the same Intertrust patents, specifically: U.S. Patent Nos. 8,191,157;2

 6 8,191,158; 9,569,627; 7,406,603; 6,640,304; 7,340,602; 8,931,106; 6,157,721; 6,785,815; and

 7 7,694,342. Further, the subpoena that is the subject of the Miscellaneous Action seeks documents

 8 and source code related to Dolby equipment that is also at issue in the Dolby Action.

 9                B. Relating the Two Cases Will Avoid Unduly Burdensome Duplication of Labor
10                    and Expense
11             The actions involve common questions of fact and overlapping discovery. The Actions

12 involve the same parties, patents, and equipment. Having the same Court resolve discovery issues

13 and address matters which arise under the protective order, as well as resolve other disputes in

14 both cases, will avoid the possibility of inconsistent results and rulings. Further, the Actions

15 involve technology within the same field and, accordingly, having a single Court hear both

16 Actions will be more efficient as the Court will become familiar with the technology at issue.

17   II.       CONCLUSION
18             For the foregoing reasons, Intertrust requests (and Dolby does not oppose) that the

19 Miscellaneous Action be related to the Dolby Action, and that the Miscellaneous Action be

20 assigned to this Court accordingly.

21

22

23                                                Respectfully submitted,

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           1
26      The Joint Discovery Letter also pertains to discovery disputes raised by Dolby, such as
   amendment of Intertrust’s infringement contentions.
      2
27      U.S. Patent No. 8,191,157 is not at issue in the Miscellaneous Action because Intertrust is no
   longer asserting the patent in the Cinemark action.
28
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                                          -5-                Case No. 3:19-cv-03371-EMC
                                            INTERTRUST’S UNOPPOSED ADMINISTRATIVE MOTION
                                             TO CONSIDER WHETHER CASES SHOULD BE RELATED
      CaseCase: 21-103    Document:
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                                                    10/22/20   Page 1 of 5




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11
                               UNITED STATES DISTRICT COURT
12
                            NORTHERN DISTRICT OF CALIFORNIA
13
                                 SAN FRANCISCO DIVISION
14
      DOLBY LABORATORIES, INC.,                      Case No. 3:19-cv-03371-EMC
15

16         Plaintiff and Counterclaim-Defendant,     STIPULATION AND [PROPOSED]
                                                     ORDER GRANTING
17             v.                                    INTERTRUST TECHNOLOGIES
                                                     CORPORATION’S UNOPPOSED
18    INTERTRUST TECHNOLOGIES                        ADMINISTRATIVE
      CORPORATION,                                   MOTION TO CONSIDER WHETHER
19                                                   CASES SHOULD BE RELATED
20         Defendant and Counterclaim-Plaintiff.

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                                                                        Case No. 3:19-cv-3371-EMC
         STIPULATION AND [PROPOSED] ORDER GRANTING INTERTRUST’S ADMINISTRATIVE MOTION TO
                                              CONSIDER WHETHER CASES SHOULD BE RELATED
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 1          WHEREAS, on June 13, 2019, Dolby Laboratories, Inc. (“Dolby”) filed a complaint

 2 against Intertrust Technologies Corporation (“Intertrust”) in the United States District Court for

 3 the Northern District of California (herein, referred to as the “Dolby Action”), seeking a

 4 declaratory judgment of non-infringement of U.S. Patent Nos. 8,191,157; 8,191,158; 9,569,627;

 5 7,406,603; 6,640,304; 7,340,602; 8,931,106; 6,157,721; 6,785,815; 7,694,342; and 8,526,610.

 6 The Dolby Action was designated as Case No. 3:19-CV-03371, and was assigned to the

 7 Honorable Edward M. Chen.

 8          WHEREAS, on October 16, 2020, Intertrust filed a miscellaneous action against Dolby in

 9 the Northern District of California (herein, referred to as the “Miscellaneous Action”), to enforce a

10 subpoena for documents it served on Dolby in Intertrust Technologies Corp. v. Cinemark

11 Holdings, Inc., et al., Civil Action No. 2:19-cv-266-JRG (Lead Case) (E.D. Tex.). The

12 Miscellaneous Action was designated as Case No. 3:20-MC-80184-AGT, and was assigned to the

13 Honorable Alex G. Tse.

14          WHEREAS, on October 22, 2020, counsel for Dolby and counsel for Intertrust met and

15 conferred, and Dolby has stated that it does not oppose Intertrust’s unopposed administrative

16 motion to relate cases.

17          WHEREAS, Intertrust has concurrently submitted an unopposed Administrative Motion to

18 Consider Whether Cases Should Be Related under Local Rule 3-12.

19          NOW, THEREFORE, IT IS STIPULATED AND AGREED by the parties that the

20 Miscellaneous Action should be related to the above-captioned action pursuant to Local Rule 3-12.

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22                                             Respectfully submitted,

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                                                     -2-                     Case No. 3:19-cv-03371-EMC
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 1 Date: October 22, 2020             By: /s/ Tigran Guledjian

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12 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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14
     Dated: _____________                    ___________________________
15                                           HON. EDWARD M. CHEN
                                             United States District Judge
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 1                         DECLARATION UNDER CIVIL CODE RULE 5.1

 2          In compliance with Civil Local Rule 5.1(i), I attest that the concurrence in the filing of this
 3
     document has been obtained from each of the other signatories indicated by a “conformed”
 4
     signature (/s/) within this e-filed document.
 5

 6
     Dated: October 22, 2020                         /s/ Tigran Guledjian__________________
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                                                     Tigran Guledjian
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